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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                            WICHITA FALLS DIVISION

UNITED STATES OF AMERICA,                    §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §    Civil Action No. 7:22-cv-00006-O-BP
                                             §
WICHITA FALLS PLUMBING, et al.,              §
                                             §
       Defendants.                           §

     ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made Findings, Conclusions, and a Recommendation

in this case. ECF No. 12. No objections were filed, and the Magistrate Judge’s Recommendation

is ripe for review. The District Judge reviewed the proposed Findings, Conclusions, and

Recommendation for plain error. Finding none, the undersigned District Judge believes that the

Findings and Conclusions of the Magistrate Judge are correct, and they are accepted as the

Findings and Conclusions of the Court.

       Accordingly, it is ORDERED that the Motion for Permanent Injunction (ECF No. 10) is

GRANTED. The Court enters DEFAULT JUDGMENT in the form of the FINAL

JUDGMENT filed contemporaneously.

       SO ORDERED on this 6th day of October, 2022.


                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE
